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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF GEORGIA
                           BRUNSWICK DIVISION


ROBERT CASTLEBERRY,                                  Civil Action No.

     Plaintiff,                                      2:16-cv-00128-LGW-BWC

v.                                                   JURY TRIAL DEMANDED

CAMDEN COUNTY,

     Defendant.


                              NOTICE OF SETTLEMENT

        COMES NOW, Plaintiff Robert Castleberry, by and through undersigned

counsel, and hereby notifies the Court that the Parties have reached a settlement of

this action and their claims brought herein. The parties intend to file a Stipulation

of Dismissal within 30 days, upon Defendant’s satisfaction of conditions precedent

to the parties’ resolution.

        Respectfully submitted this 24th day of May, 2019.

                                             BARRETT & FARAHANY

                                             s/ Amanda A. Farahany
                                             Amanda A. Farahany
                                             Georgia Bar No. 646135




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                                        Attorney for Plaintiff Robert
                                        Castleberry

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                   IN THE UNITED STATES DISTRICT COURT
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ROBERT CASTLEBERRY,                                   Civil Action No.

     Plaintiff,                                       2:16-cv-00128-LGW-BWC

v.                                                    JURY TRIAL DEMANDED

CAMDEN COUNTY,

     Defendant.



                          CERTIFICATE OF SERVICE

      I hereby certify that on this day, I electronically filed the foregoing Notice of
Settlement with the Clerk of Court using the CM/ECF system which will
automatically send email notification of such filing to the following attorneys of
record:

                                Charles Dorminy
                          cdorminy@hallboothsmith.com

                                William Mann
                           wmann@hallboothsmith.com

        Respectfully submitted this 24th day of May, 2019.

                                              BARRETT & FARAHANY

                                              s/ Amanda A. Farahany
                                              Amanda A. Farahany
                                              Georgia Bar No. 646135



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